                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION

UNITED STATES OF AMERICA     )                 DOCKET NO. 5:96CR015-4-V
                             )
             vs.             )
                             )
(4) CURTIS WINSTON FULLER    )
                             )                 ORDER TO REDUCE TERM OF
____________________________ )                 IMPRISONMENT TO TIME SERVED

         BEFORE THE COURT is a motion filed by the United States of America and the

Director of the Federal Bureau of Prisons pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), seeking a

modification of the term of imprisonment of the defendant, Curtis Winston Fuller, to time served,

and commencement of a ten-year term of supervised release previously imposed.         The Court

finds:

         Title18, United States Code, U.S.C. § 3582(c)(1)(A)(I), provides that the Court, upon

motion of the Director of the Bureau of Prisons, may modify a term of imprisonment upon the

finding that extraordinary and compelling reasons exist to warrant a reduction.

         Defendant Curtis Winston Fuller was convicted of Conspiracy to Possess With Intent to

Distribute and Distribute Cocaine and Cocaine Base, in violation of 21 U.S.C. § 846. This Court

sentenced defendant Fuller on May 22, 1998, to a 360-month term of imprisonment, followed by

a ten-year term of supervised release. On November 18, 2010, the sentence was reduced to 292

months relative to the amended Guideline range.

         Defendant Fuller's Good Conduct Time release date is January 5, 2019. It is not likely

that defendant Fuller will survive to that date.




    Case 5:96-cr-00015-KDB-DCK             Document 526        Filed 03/29/12     Page 1 of 2
       Defendant Fuller, age 55, is a paraplegic. He also suffers from hypertension, chronic

anemia, hepatitis C, reflux disease, right hip disarticulation (amputation to the hip), and left leg

amputation at the thigh due to chronic open wound osteomyelitis. He has suffered a decline in

overall functioning over the last 18 months and is extremely debilitated and totally dependent on

nursing staff. He is bed-bound most of the day but can remain upright for short intervals. He is

dependent upon a wheelchair and requires assistance with all of his Activities of Daily Living.

He is able to feed himself if food is brought to him and he is not cognitively impaired.         His life

expectancy is indeterminate, but his prognosis is poor.

       The Director of the Bureau of Prisons contends, and this Court agrees, that the

Defendant's now severely-debilitated medical condition and possible limited life expectancy

constitute extraordinary and compelling reasons that warrant the requested reduction.

       IT IS HEREBY ORDERED THAT:
               1) The defendant's term of imprisonment is hereby reduced to the time he has
already served;
               2) The defendant shall be released from the custody of the Federal Bureau of

Prisons as soon as his medical condition permits, the release plan is implemented, and travel

arrangements can be made; and

               3) Upon his release from the custody of the Federal Bureau of Prisons, the

defendant shall begin serving the ten-year term of supervised release previously imposed.



                                                  Signed: March 29, 2012




                                              SEALED DOCUMENT with access to Specified Parties/Defendants




    Case 5:96-cr-00015-KDB-DCK             Document 526         Filed 03/29/12        Page 2 of 2
